20-11254-jlg       Doc 476        Filed 07/07/20 Entered 07/07/20 19:09:44                    Main Document
                                               Pg 1 of 21



                                            Hearing Date and Time: July 30, 2020 at 11:00 AM (ET)
                                                 Objection Deadline: July 21, 2020 at 4:00 PM (ET)
Richard J. Cooper
Lisa M. Schweitzer
Luke A. Barefoot
Thomas S. Kessler
CLEARY GOTTLIEB STEEN & HAMILTON LLP
One Liberty Plaza
New York, New York 10006
Telephone: (212) 225-2000
Facsimile: (212) 225-3999

Counsel to the Debtors
and Debtors-in-Possession

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

                                                                 x
    In re:                                                       :   Chapter 11
                                                                 :
    LATAM Airlines Group S.A., et al.,                           :   Case No. 20-11254 (JLG)
                                                                 :
                                              Debtors. 1         :   Jointly Administered
                                                                 :
                                                                 :
                                                                 x



                       DEBTORS’ MOTION FOR AN ORDER
             ESTABLISHING PROCEDURES FOR INTERIM COMPENSATION
              AND REIMBURSEMENT OF EXPENSES OF PROFESSIONALS

1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (as applicable), are: LATAM Airlines Group S.A. (XX-XXXXXXX); Lan Cargo S.A. (XX-XXXXXXX); Transporte
Aéreo S.A. (XX-XXXXXXX); Inversiones Lan S.A. (XX-XXXXXXX); Technical Training LATAM S.A. (96-847880K);
LATAM Travel Chile II S.A. (XX-XXXXXXX); Lan Pax Group S.A. (XX-XXXXXXX); Fast Air Almacenes de Carga S.A.
(XX-XXXXXXX); Línea Aérea Carguera de Colombia S.A. (XX-XXXXXXX); Aerovías de Integración Regional S.A. (98-
0640393); LATAM Finance Ltd. (N/A); LATAM Airlines Ecuador S.A. (XX-XXXXXXX); Professional Airline Cargo
Services, LLC (XX-XXXXXXX); Cargo Handling Airport Services, LLC (XX-XXXXXXX); Maintenance Service Experts,
LLC (XX-XXXXXXX); Lan Cargo Repair Station LLC (XX-XXXXXXX); Prime Airport Services Inc. (XX-XXXXXXX);
Professional Airline Maintenance Services LLC (XX-XXXXXXX); Connecta Corporation (XX-XXXXXXX); Peuco Finance
Ltd. (N/A); Latam Airlines Perú S.A. (XX-XXXXXXX); Inversiones Aéreas S.A. (N/A); Holdco Colombia II SpA (76-
9310053); Holdco Colombia I SpA (XX-XXXXXXX); Holdco Ecuador S.A. (XX-XXXXXXX); Lan Cargo Inversiones S.A.
(XX-XXXXXXX); Lan Cargo Overseas Ltd. (XX-XXXXXXX); Mas Investment Ltd. (XX-XXXXXXX); Professional Airlines
Services Inc. (XX-XXXXXXX). For the purpose of these Chapter 11 Cases, the service address for the Debtors is: 6500
NW 22nd Street Miami, FL 33131.
20-11254-jlg       Doc 476       Filed 07/07/20 Entered 07/07/20 19:09:44                    Main Document
                                              Pg 2 of 21



                 LATAM Airlines Group S.A. (“LATAM Parent”) and certain of its affiliated

debtors and debtors-in-possession (collectively, the “Debtors”) 2, hereby submit this motion (the

“Motion”) for entry of an order, substantially in the form attached hereto as Exhibit A (the

“Proposed Order”), pursuant to sections 105(a), 330, and 331 of title 11 of the United States

Code (the “Bankruptcy Code”), Rule 2016(a) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and Rule 2016-1 of the Local Bankruptcy Rules for the Southern District

of New York (the “Local Rules”). In support of this Motion, the Debtors respectfully state as

follows:

                                              BACKGROUND

                 1.       On May 26, 2020 (the “Petition Date”), the Debtors each filed voluntary

petitions under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”). The Debtors

continue to operate their businesses and manage their properties as debtors-in-possession

pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code. The Chapter 11 Cases are jointly

administered for procedural purposes only pursuant to Rule 1015(b) of the Bankruptcy Rules and

the Order Authorizing Joint Administration of the Debtors’ Chapter 11 Cases (ECF No. 34)

entered by the Court in each of the Chapter 11 Cases. On June 5, 2020, the United States Trustee

for Region 2 (the “U.S. Trustee”) appointed an official committee of unsecured creditors (the

“UCC”). No trustee or examiner has been appointed in these Chapter 11 Cases.

                 2.       LATAM is Latin America’s leading airline group, with a history

extending back ninety years, and boasting one of the largest route networks in the world. Before

the onset of the COVID-19 pandemic, LATAM offered passenger transport services to 145

different destinations in twenty-six countries, including domestic flights in Argentina, Brazil,


2
      LATAM Parent, and its debtor and non-debtor subsidiaries and affiliates are collectively referred to as
“LATAM”.


                                                        2
20-11254-jlg         Doc 476       Filed 07/07/20 Entered 07/07/20 19:09:44                   Main Document
                                                Pg 3 of 21



Chile, Colombia, Ecuador and Peru, and international services within Latin America as well as to

Europe, the United States, the Caribbean, Oceania, Asia and Africa. As of the Petition Date,

LATAM had a total fleet of 340 aircraft, 3 and in 2019, transported more than seventy-four

million passengers around the world. While the majority of LATAM’s revenues have

traditionally come from its passenger airline services, LATAM also offers cargo-related services

to 151 destinations in twenty-nine countries. In 2019, LATAM’s consolidated revenues were

over $10 billion, of which the Debtors’ comprised approximately $4 billion. The Debtors have

substantial international operations, and their ability to maintain these international operations is

a critical element of the overall success of the Debtors’ business.

                   3.       At the beginning of 2020, LATAM was financially and operationally the

strongest group in Latin America and poised to continue its upward trajectory, projecting growth

in all of its passenger segments, as well as its cargo business. Unfortunately, like so many

businesses around the world, the unprecedented effects of the COVID-19 global pandemic have

significantly affected LATAM’s operations and its business plan. On March 11, 2020 the World

Health Organization declared the widespread outbreak of the novel COVID-19 a global

pandemic. Over the intervening weeks, countries around the world, including each of those in

which the Debtors have their primary operations, announced severe travel restrictions and/or

outright closure of their borders.

                   4.       The impact on the airline industry was almost instantaneous, and by April

2020, in response to the precipitous decline in air travel, LATAM reduced its passenger routes

by 95%. LATAM’s cargo operations largely have been unaffected by the COVID-19 pandemic.

Indeed, cargo operations have increased in recent months, including to provide much needed


3
           This number comprises both aircraft operated by LATAM and a small number that are leased to third-
parties.


                                                         3
20-11254-jlg        Doc 476       Filed 07/07/20 Entered 07/07/20 19:09:44                     Main Document
                                               Pg 4 of 21



medical and other critical supplies to areas affected by the pandemic. Although LATAM expects

continued demand for its cargo operations, that demand cannot fully offset the impact of the

COVID-19 pandemic on LATAM’s business.

                  5.       Despite undertaking meaningful cost-saving and liquidity preserving

measures, LATAM’s liquidity position has continued to deteriorate in the wake of the COVID-

19 pandemic, necessitating the commencement of the Chapter 11 Cases. Additional information

regarding the Debtors’ business, capital structure and the circumstances leading to the

commencement of the Chapter 11 Cases is set forth in the Declaration of Ramiro Alfonsín Balza

in Support of First day Motions and Applications in Compliance with Local Rule 1007-1 (ECF

No. 3) (the “First Day Declaration”), 4 which is incorporated by reference herein.

                  6.       On May 27, 2020, the Grand Court of the Cayman Islands granted the

applications of certain of the Debtors for the appointment of provisional liquidators pursuant to

section 104(3) of the Companies Law (2020 Revision). On June 4, 2020, the 2nd Civil Court of

Santiago, Chile issued an order recognizing the Chapter 11 proceeding with respect to the

LATAM Airlines Group S.A., Lan Cargo S.A., Fast Air Almacenes de Carga S.A., Latam Travel

Chile II S.A., Lan Cargo Inversiones S.A., Transporte Aéreo S.A., Inversiones Lan S.A., Lan

Pax Group S.A. and Technical Training LATAM S.A. In addition, on June 12, 2020, the

Superintendence of Companies of Colombia granted the recognition to the Chapter 11

proceedings.

                                      JURISDICTION AND VENUE

                  7.       The United States Bankruptcy Court for the Southern District of New

York (the “Court”) has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and


4
          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in
the First Day Declaration.


                                                         4
20-11254-jlg     Doc 476     Filed 07/07/20 Entered 07/07/20 19:09:44             Main Document
                                          Pg 5 of 21



1334 and the Amended Standing Order of Reference from the United States District Court for the

Southern District of New York dated January 31, 2012 (Preska, C.J.). Venue is proper pursuant

to 28 U.S.C. §§ 1408 and 1409. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b).

The statutory predicates for the relief requested herein are sections 105(a), 330, and 331 of the

Bankruptcy Code and Bankruptcy Rule 2016(a).

                                     RELIEF REQUESTED

               8.      The Debtors request that the Court enter an order substantially in the form

attached hereto as Exhibit A establishing procedures for the monthly allowance and payment of

compensation and reimbursement of expenses for professionals whose services are authorized by

the Court pursuant to sections 327, 328, or 1103 of the Bankruptcy Code and who will be

required to file applications for allowance of compensation and reimbursement of expenses

pursuant to sections 328, 330, and 331 of the Bankruptcy Code and Bankruptcy Rule 2016(a)

(the “Interim Compensation Procedures”).

               9.      The proposed Interim Compensation Procedures generally conform to the

standing General Order M-412 of the Court, dated December 21, 2010, and Local Rule

2016-1(c).

               10.     Given the size and complexity of the Chapter 11 Cases, the Debtors

require the assistance of various professionals to efficiently manage these proceedings.

Accordingly, the Debtors have been authorized to employ and retain a number of professionals,

including, without limitation: (i) Cleary Gottlieb Steen & Hamilton LLP (“Cleary”) as counsel to

the debtors-in-possession; (ii) Prime Clerk LLC (“Prime Clerk”) as claims and noticing agent;

(iii) PJT Partners LP (“PJT”) as investment banker; (iv) FTI Consulting, Inc. and its affiliates

(collectively, “FTI”) as financial advisor; (v) Ocean Tomo LLC (“Ocean Tomo”) as intellectual

property valuation consultants; (vi) Togut, Segal & Segal LLP (“Togut”) as co-counsel to the


                                                 5
20-11254-jlg        Doc 476       Filed 07/07/20 Entered 07/07/20 19:09:44                     Main Document
                                               Pg 6 of 21



debtors-in-possession; (vii) Claro & Cia 5 (“Claro”) as special Chilean counsel; and (viii)

Brigard Urrutia Abogados S.A.S. (“Brigard”) as special Colombian counsel. The Debtors

anticipate the potential need to file additional retention applications as the Chapter 11 Cases

progress (collectively, the “Debtors’ Professionals”). 6 The UCC has retained Dechert LLP as

proposed legal counsel, UBS Securities LLC as proposed investment banker and Conway

MacKenzie, Inc. as proposed financial advisors to the UCC, Klestadt Winters Jureller Southard

& Stevens, LLP as proposed conflicts counsel, Morales & Besa LTDA as proposed Chilean

counsel, and will likely seek to retain additional professionals (collectively, with the Debtors’

Professionals, the “Retained Professionals”).

                 11.      The Debtors believe that the Interim Compensation Procedures will permit

the efficient and orderly review and administration of Retained Professionals’ fees and expenses

during these Chapter 11 Cases, conserving the resources of the Debtors, the Court, and the U.S.

Trustee.

                 12.      The Interim Compensation Procedures set forth below substantially

comply with the Court’s Amended Guidelines for Fees and Disbursements for Professionals in

Southern District of New York Bankruptcy Cases, dated January 29, 2013, and the U.S. Trustee’s

Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed




5
         Claro & Cia is a Sociedad Colectiva Civil, a general partnership law firm, organized under the laws of
Chile.
6
          On June 28, 2020, the Court entered the Order Granting Application to Employ Professionals Used in the
Ordinary Course of Business Nunc Pro Tunc to the Petition Date, ECF No. 389 (the “OCP Order”), granting the
Debtors’ the authority to employ certain professionals (collectively, the “Ordinary Course Professionals”). Pursuant
to the OCP Order, Ordinary Course Professionals will not need to file individual retention applications and will be
paid in full without interim or final fee applications, subject to monthly aggregate caps on fees and expenses.
Notwithstanding the above, the Debtors reserve the right to file a separate retention application for any Ordinary
Course Professional that exceeds the applicable OCP Case Cap, as defined in the OCP Order, in which case such
professional would be subject to the Interim Compensation Procedures.


                                                         6
20-11254-jlg      Doc 476     Filed 07/07/20 Entered 07/07/20 19:09:44          Main Document
                                           Pg 7 of 21



under 11 U.S.C. § 330 by Attorneys in Large Chapter 11 Cases, effective November 1, 2013

(collectively, the “Fee Guidelines”):

            A.    Monthly Statements

            (a)   On or before the thirtieth day of each month following the month for which
                  compensation is sought, each Retained Professional seeking compensation
                  shall serve a monthly statement (the “Monthly Fee Statement”) by email, hand,
                  or overnight delivery, on the following parties (collectively, the “Fee Notice
                  Parties”):

                  (i)    The Debtors c/o LATAM Airlines Group S.A., 6500 NW 22nd Street
                         Miami, FL 33131, Attn: Helen Warner (email:
                         helen.warner@latam.com);

                  (ii)   Counsel to the Debtors, Cleary Gottlieb Steen & Hamilton, One Liberty
                         Plaza, New York, New York 10006, Attn: Richard J. Cooper, Esq., Lisa
                         M. Schweitzer, Esq., and Luke A. Barefoot, Esq. (email:
                         rcooper@cgsh.com, lschweitzer@cgsh.com, and lbarefoot@cgsh.com);

                  (iii) Co-Counsel to the Debtors, Togut, Segal & Segal LLP, One Penn Plaza,
                        Suite 3335, New York, New York 10119, Attn: Albert Togut, Esq. and
                        Kyle Ortiz, Esq. (email: altogut@teamtogut.com and
                        kortiz@teamtogut.com);

                  (iv) The United States Trustee for the Southern District of New York, 201
                       Varick Street, Suite 1006, New York, New York 10014, Attn: Brian S.
                       Masumoto, Esq. and Serene Nakano, Esq. (email:
                       brian.masumoto@usdoj.gov and serene.nakano@usdoj.gov);

                  (v)    Proposed Counsel for the UCC, Dechert LLP, Three Bryant Park, 1095
                         Avenue of the Americas, New York, New York 10036-6797, Attn: Allan
                         Brilliant, Esq. and Craig Druehl, Esq. (email:
                         allan.brilliant@dechert.com and craig.druehl@dechert.com); and

                  (vi) Proposed Counsel for the ad hoc group of LATAM Bondholders, White
                       & Case LLP, 1221 Avenue of the Americas, New York, New York
                       10020-1095, Attn: John K. Cunningham, Esq. and Richard S. Kebrdle,
                       Esq. (email: jcunningham@whitecase.com and
                       rkebrdle@whitecase.com).

            (b)   On or before the thirtieth day of each month following the month for which
                  compensation is sought, each Retained Professional shall file a Monthly Fee
                  Statement with the Court; however, a courtesy copy of the Monthly Fee
                  Statements need not be delivered to the Judge’s chambers because the Order
                  does not alter the fee application requirements outlined in sections 330 and 331



                                                7
20-11254-jlg    Doc 476    Filed 07/07/20 Entered 07/07/20 19:09:44            Main Document
                                        Pg 8 of 21



                of the Bankruptcy Code. Retained Professionals are still required to serve and
                file interim and final applications for approval of fees and expenses in
                accordance with the relevant provisions of the Bankruptcy Code, Bankruptcy
                Rules, and the Local Rules.

          (c)   Any Retained Professional that fails to file a Monthly Fee Statement for a
                particular month or months may subsequently submit a consolidated Monthly
                Fee Statement that includes a request for compensation earned or expenses
                incurred during previous months.

          (d)   Except as otherwise ordered by the Court, for those Retained Professionals
                who bill hourly, each Monthly Fee Statement must contain a list of the
                individuals—and their respective titles (e.g., attorney, accountant, or
                paralegal)—who provided services during the statement period, their respective
                billing rates, the aggregate hours spent by each individual, a reasonably
                detailed breakdown of the disbursements incurred, and time entries for each
                individual in increments of tenths (1/10) of an hour or as close thereto as
                practicable unless otherwise ordered by the Court. No professional should seek
                reimbursement of an expense that would otherwise not be allowed pursuant to
                the Fee Guidelines.

          (e)   For those Retained Professionals who bill on a fixed or flat fee basis, each
                Monthly Fee Statement will contain such details as required by their respective
                retention orders.

          (f)   If any party in interest has an objection to the compensation or reimbursement
                sought in a particular Monthly Fee Statement (an “Objection”) such party shall,
                by no later than 12:00 p.m. (Prevailing Eastern Time) on the date that is fifteen
                days following the filing of the particular Monthly Fee Statement (the
                “Objection Deadline”), serve via electronic mail upon the Retained
                Professional whose Monthly Fee Statement is the subject of an Objection, a
                written “Notice of Objection to Fee Statement,” setting forth the nature of the
                Objection and the amount of fees or expenses at issue.

          (g)   At the expiration of the Objection Deadline, the Debtors shall promptly pay
                eighty percent (80%) of the fees and one hundred percent (100%) of the
                expenses identified in each Monthly Fee Statement to which no Objection has
                been served in accordance with paragraph (f) above.

          (h)   If a Notice of Objection to Fee Statement with respect to a particular Monthly
                Fee Statement is served, the Debtors shall withhold payment of that portion of
                the Monthly Fee Statement to which the Objection is directed and promptly
                pay the remainder of the fees and disbursements in the percentages set forth in
                paragraph (g).

          (i)   If an Objection is resolved and if the party whose Monthly Fee Statement was
                the subject of the Objection serves on all Fee Notice Parties a statement



                                              8
20-11254-jlg       Doc 476       Filed 07/07/20 Entered 07/07/20 19:09:44                    Main Document
                                              Pg 9 of 21



                    indicating that the Objection has been withdrawn and describing the terms of
                    the resolution, then the Debtors shall promptly pay, in accordance with
                    paragraph (g), that portion of the Monthly Fee Statement that is no longer
                    subject to the Objection.

             (j)    All Objections that are not resolved by the parties shall be preserved and
                    presented to the Court at the next interim or final fee application hearing to be
                    heard by the Court.

             (k)    The service of a Notice of Objection to Fee Statement in accordance with
                    paragraph (f) above shall not prejudice the objecting party’s right to object to
                    any fee application made to the Court in accordance with the Bankruptcy Code
                    on any ground, whether raised in the Objection or not. Furthermore, the decision
                    by any party not to object to a Monthly Fee Statement shall not be a waiver of
                    any kind and shall not prejudice that party’s right to object to any fee application
                    subsequently made to the Court in accordance with the Bankruptcy Code.

             B.     Interim Fee Applications

             (a)    Commencing with the period beginning with the Petition Date (May 26, 2020)
                    and ending September 30, 2020, and at four-month intervals thereafter (each
                    such period, an “Interim Fee Period”), each of the Retained Professionals shall
                    file with the Court and serve on the Fee Notice Parties an application (an
                    “Interim Fee Application”) for interim Court approval and allowance pursuant
                    to sections 330 and 331 of the Bankruptcy Code (as the case may be), of the
                    compensation and reimbursement of expenses requested in the Monthly Fee
                    Statements served during each applicable Interim Fee Period. Each Retained
                    Professional shall file its Interim Fee Application no later than forty-five days
                    after the end of an Interim Fee Period. Each Retained Professional shall file its
                    first Interim Fee Application on or before November 16, 2020 7 and the first
                    Interim Fee Application shall cover the Interim Fee Period from the Petition
                    Date (or the effective date of the Retained Professional’s retention) through and
                    including September 30, 2020.

             (b)    The Debtors’ attorneys shall obtain a date from the Court for the hearing to
                    consider Interim Fee Applications for all Retained Professionals (the “Interim
                    Fee Hearing”), which shall be scheduled no earlier than thirty days after the
                    expiration of the 45-day period set forth in paragraph (a), unless otherwise
                    agreed to by the Debtors, the U.S. Trustee, and the UCC. At least thirty days
                    prior to the Interim Fee Hearing, the Debtors’ attorneys shall file a notice with
                    the Court, with service upon the U.S. Trustee and all Retained Professionals,
                    setting forth the time, date, and location of the Interim Fee Hearing, the period
                    covered by the Interim Fee Applications, and the Objection Deadline. Any
                    Retained Professional unable to file its own Interim Fee Application with the
7
         Forty-five days after the end of the first Interim Fee Period (September 30, 2020) is November 14,
2020,which lands on a Saturday. Thus, under Bankruptcy Rule 9006(a)(1)(c), the deadline would be the first non-
holiday, non-weekend day, which is Monday, November 16, 2020.


                                                        9
20-11254-jlg      Doc 476     Filed 07/07/20 Entered 07/07/20 19:09:44           Main Document
                                          Pg 10 of 21



                   Court shall deliver to the Debtors’ attorneys a fully executed copy, along with
                   service copies, three business days before the filing deadline. The Debtors’
                   attorneys shall file and serve such Interim Fee Application.

           (c)     Any Retained Professional who fails to timely file an Interim Fee Application
                   seeking approval of compensation and expenses previously paid pursuant to a
                   Monthly Fee Statement shall (i) be ineligible to receive further monthly
                   payments of fees or reimbursement of expenses as provided under the Proposed
                   Order until such Interim Fee Application is filed, and (ii) may be required to
                   disgorge any fees paid since retention or the last fee application, whichever is
                   later.

           (d)     The pendency of an Interim Fee Application or a Court order that payment of
                   compensation or reimbursement of expenses was improper as to a particular
                   Monthly Fee Statement shall not disqualify a Retained Professional from the
                   future payment of compensation or reimbursement of expenses as set forth
                   above, unless otherwise ordered by the Court.

           (e)     Neither the payment of, nor the failure to pay, in whole or in part, monthly
                   compensation and reimbursement as provided herein shall have any effect on
                   the Court’s interim or final allowance of compensation and reimbursement of
                   expenses of any Retained Professionals. To the extent authorized by the Court,
                   including in an order allowing a Retained Professional’s Interim Fee
                   Application, the Debtors shall be authorized to promptly pay such Retained
                   Professional all allowed requested fees (including the 20% of the fees withheld
                   from each Monthly Fee Statement) and expenses not previously paid.

           (f)     Counsel for the UCC may, in accordance with the Interim Compensation
                   Procedures, collect and submit statements of expenses, with supporting
                   vouchers, from members of the UCC; provided, that such reimbursement
                   requests must comply with the Fee Guidelines, and any other applicable fee
                   and expense guidelines adopted by the Court. Notwithstanding the foregoing,
                   the Debtors are authorized to promptly pay upon the receipt of invoices
                   therefore the actual and necessary expenses, other than compensation and
                   reimbursement of expenses specified in paragraph four of section 503(b) of the
                   Bankruptcy Code, incurred by a natural person who is a member of such
                   committee in the performance of the duties of such committee. The payment
                   of such expenses as provided herein shall be subject to, and shall not have any
                   effect on, the Court’s interim and final allowance of reimbursement of such
                   expenses.

                                      BASIS FOR RELIEF

                 13.   Pursuant to section 331 of the Bankruptcy Code, all professionals are

entitled to submit applications for interim compensation and reimbursement of expenses every



                                                 10
20-11254-jlg      Doc 476        Filed 07/07/20 Entered 07/07/20 19:09:44            Main Document
                                             Pg 11 of 21



120 days, or more often if permitted by the court. See 11 U.S.C. § 331. Section 105(a) of the

Bankruptcy Code authorizes the court to issue any order “necessary or appropriate to carry out

the provisions of the [Bankruptcy Code.]” 11 U.S.C. § 105(a). Moreover, General Orders M-

412, M-427, and M-447 of the Court, and Local Rule 2016-1, establish procedures for monthly

compensation and reimbursement of expenses of professionals in chapter 11 cases.

                14.      The proposed Interim Compensation Procedures will enable the Debtors to

monitor the administration, forecast cash flows, and implement efficient cash management

procedures. Such procedures will allow the Court, the U.S. Trustee, and other parties in interest,

to ensure that any compensation and reimbursement requested by Retained Professionals is

reasonable and necessary to the effective resolution of these Chapter 11 Cases.

                15.      Courts in this jurisdiction have approved relief similar to the relief

requested herein. See, e.g., In re Avianca Holdings S.A., Case No. 20-11133 (MG) (Bankr.

S.D.N.Y. June 9, 2020), ECF No. 256; In re Windstream Holdings, Inc., Case No. 19-12226

(SCC) (Bankr. S.D.N.Y. July 31, 2019), ECF No. 374; In re Ditech Holding Corp., Case No.

19-10412 (JLG) (Bankr. S.D.N.Y. Mar. 25, 2019), ECF No. 255; In re Synergy Pharm. Inc.,

Case No. 18-14010 (JLG) (Bankr. S.D.N.Y. Jan. 24, 2019); ECF No. 262; In re Waypoint

Leasing Holdings Ltd., Case No. 18-13648 (SMB) (Bankr. S.D.N.Y. Apr. 22, 2019), ECF No.

374.

                16.      The Debtors believe that the proposed Interim Compensation Procedures

are necessary, appropriate, and in the best interest of the Debtors’ estates and their creditors and

all other parties in interest.

                                               NOTICE

                17.      The Debtors have provided notice of this Motion in accordance with the

procedures set forth in the Order Implementing Certain Notice and Case Management


                                                   11
20-11254-jlg       Doc 476   Filed 07/07/20 Entered 07/07/20 19:09:44            Main Document
                                         Pg 12 of 21



Procedures (ECF No. 112). The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be provided.

               18.     To implement the foregoing successfully, the Debtors request that the

Court find that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a).

                                     NO PRIOR REQUEST

               19.     No prior request for the relief requested herein has been made to this or

any other Court.


                      [The remainder of this page is left blank intentionally]




                                                12
20-11254-jlg     Doc 476      Filed 07/07/20 Entered 07/07/20 19:09:44            Main Document
                                          Pg 13 of 21



                                          CONCLUSION

               WHEREFORE, for the reason set forth herein the Debtors respectfully request

that this Court (a) enter an order, substantially in the form attached hereto as Exhibit A and

(b) grant such other and further relief as is just and proper.


  Dated:      July 7, 2020                    /s/ Luke A. Barefoot
              New York, New York              Richard J. Cooper
                                              Lisa M. Schweitzer
                                              Luke A. Barefoot
                                              Thomas S. Kessler
                                              CLEARY GOTTLIEB STEEN & HAMILTON LLP
                                              One Liberty Plaza
                                              New York, New York 10006
                                              Telephone: (212) 225-2000
                                              Facsimile: (212) 225-3999


                                              Counsel to the Debtors and Debtors-in-Possession




                                                  13
20-11254-jlg   Doc 476   Filed 07/07/20 Entered 07/07/20 19:09:44   Main Document
                                     Pg 14 of 21



                                    EXHIBIT A

                                  Proposed Order
20-11254-jlg            Doc 476       Filed 07/07/20 Entered 07/07/20 19:09:44                     Main Document
                                                  Pg 15 of 21



    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

                                                                      x
    In re:                                                            :   Chapter 11
                                                                      :
    LATAM Airlines Group S.A., et al.,                                :   Case No. 20-11245 (JLG)
                                                                      :
                                                   Debtors. 1         :   Jointly Administered
                                                                      :
                                                                      :
                                                                      x



            ORDER ESTABLISHING PROCEDURES FOR INTERIM
    COMPENSATION AND REIMBURSEMENT OF EXPENSES OF PROFESSIONALS

                     Upon the Motion 2 of LATAM Airlines Group S.A., and its affiliated debtors and

debtors-in-possession in the above-captioned cases (collectively, the “Debtors”), for entry of an

order (this “Order”) establishing procedures for interim compensation and reimbursement of

expenses of professionals; and the Court having jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the Southern District of New York dated January 31, 2012; and the Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that the Court


1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (as applicable), are: LATAM Airlines Group S.A. (XX-XXXXXXX); Lan Cargo S.A. (XX-XXXXXXX); Transporte
Aéreo S.A. (XX-XXXXXXX); Inversiones Lan S.A. (XX-XXXXXXX); Technical Training LATAM S.A. (96-847880K);
LATAM Travel Chile II S.A. (XX-XXXXXXX); Lan Pax Group S.A. (XX-XXXXXXX); Fast Air Almacenes de Carga S.A.
(XX-XXXXXXX); Línea Aérea Carguera de Colombia S.A. (XX-XXXXXXX); Aerovías de Integración Regional S.A. (98-
0640393); LATAM Finance Ltd. (N/A); LATAM Airlines Ecuador S.A. (XX-XXXXXXX); Professional Airline Cargo
Services, LLC (XX-XXXXXXX); Cargo Handling Airport Services, LLC (XX-XXXXXXX); Maintenance Service Experts,
LLC (XX-XXXXXXX); Lan Cargo Repair Station LLC (XX-XXXXXXX); Prime Airport Services Inc. (XX-XXXXXXX);
Professional Airline Maintenance Services LLC (XX-XXXXXXX); Connecta Corporation (XX-XXXXXXX); Peuco Finance
Ltd. (N/A); Latam Airlines Perú S.A. (XX-XXXXXXX); Inversiones Aéreas S.A. (N/A); Holdco Colombia II SpA (76-
9310053); Holdco Colombia I SpA (XX-XXXXXXX); Holdco Ecuador S.A. (XX-XXXXXXX); Lan Cargo Inversiones S.A.
(XX-XXXXXXX); Lan Cargo Overseas Ltd. (XX-XXXXXXX); Mas Investment Ltd. (XX-XXXXXXX); Professional Airlines
Services Inc. (XX-XXXXXXX). For the purpose of these Chapter 11 Cases, the service address for the Debtors is: 6500
NW 22nd Street Miami, FL 33131.
2
             All capitalized terms used and not defined herein shall have the meanings ascribed to them in the Motion.
20-11254-jlg       Doc 476         Filed 07/07/20 Entered 07/07/20 19:09:44            Main Document
                                               Pg 16 of 21



may enter a final order consistent with Article III of the United States Constitution; and the Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and the Court having found that the relief requested in the Motion

is in the best interests of the Debtors, their estates, their creditors and other parties in interest;

and the Court having found that the Debtors’ notice of the Motion and opportunity for a hearing

on the Motion was appropriate and no other notice need be provided; and the Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before the Court (the “Hearing”); and the Court having determined that the legal and

factual bases set forth in the Motion and on the record of the Hearing establish just cause for the

relief granted herein; and all objections to the Motion (if any) having been withdrawn or

overruled; and upon all of the proceedings had before the Court; and after due deliberation and

sufficient cause appearing therefor;

                  IT IS HEREBY ORDERED THAT:

                  The Motion is GRANTED to the extent set forth herein.

                  1.         Except as may otherwise be provided by orders of this Court authorizing

the retention of specific professionals, all Retained Professionals and members of the UCC, may

seek interim compensation and/or reimbursement of expenses, in accordance with the following

Interim Compensation Procedures:

            A.         Monthly Statements

            (a)        On or before the thirtieth day of each month following the month for which
                       compensation is sought, each Retained Professional seeking compensation
                       shall serve a monthly statement (the “Monthly Fee Statement”) by email, hand,
                       or overnight delivery, on the following parties (collectively, the “Fee Notice
                       Parties”):

                       (i)    The Debtors c/o LATAM Airlines Group S.A., 6500 NW 22nd Street
                              Miami, FL 33131, Attn: Helen Warner (email:
                              helen.warner@latam.com);


                                                      2
20-11254-jlg    Doc 476     Filed 07/07/20 Entered 07/07/20 19:09:44          Main Document
                                        Pg 17 of 21



                (ii)   Counsel to the Debtors, Cleary Gottlieb Steen & Hamilton, One Liberty
                       Plaza, New York, New York 10006, Attn: Richard J. Cooper, Esq., Lisa
                       M. Schweitzer, Esq., and Luke A. Barefoot, Esq. (email:
                       rcooper@cgsh.com, lschweitzer@cgsh.com, and lbarefoot@cgsh.com);

                (iii) Co-Counsel to the Debtors, Togut, Segal & Segal LLP, One Penn Plaza,
                      Suite 3335, New York, New York 10119, Attn: Albert Togut, Esq. and
                      Kyle Ortiz, Esq. (email: altogut@teamtogut.com and
                      kortiz@teamtogut.com);

                (iv) The United States Trustee for the Southern District of New York, 201
                     Varick Street, Suite 1006, New York, New York 10014, Attn: Brian S.
                     Masumoto, Esq. and Serene Nakano, Esq. (email:
                     brian.masumoto@usdoj.gov and serene.nakano@usdoj.gov);

                (v)    Proposed Counsel for the UCC, Dechert LLP, Three Bryant Park, 1095
                       Avenue of the Americas, New York, New York 10036-6797, Attn: Allan
                       Brilliant, Esq. and Craig Druehl, Esq. (email:
                       allan.brilliant@dechert.com and craig.druehl@dechert.com); and

                (vi) Proposed Counsel for the ad hoc group of LATAM Bondholders, White
                     & Case LLP, 1221 Avenue of the Americas, New York, New York
                     10020-1095, Attn: John K. Cunningham, Esq. and Richard S. Kebrdle,
                     Esq. (email: jcunningham@whitecase.com and
                     rkebrdle@whitecase.com).

          (b)   On or before the thirtieth day of each month following the month for which
                compensation is sought, each Retained Professional shall file a Monthly Fee
                Statement with the Court; however, a courtesy copy of the Monthly Fee
                Statements need not be delivered to the Judge’s chambers because the Order
                does not alter the fee application requirements outlined in sections 330 and 331
                of the Bankruptcy Code. Retained Professionals are still required to serve and
                file interim and final applications for approval of fees and expenses in
                accordance with the relevant provisions of the Bankruptcy Code, Bankruptcy
                Rules, and the Local Rules.

          (c)   Any Retained Professional that fails to file a Monthly Fee Statement for a
                particular month or months may subsequently submit a consolidated Monthly
                Fee Statement that includes a request for compensation earned or expenses
                incurred during previous months.

          (d)   Except as otherwise ordered by the Court, for those Retained Professionals
                who bill hourly, each Monthly Fee Statement must contain a list of the
                individuals—and their respective titles (e.g., attorney, accountant, or
                paralegal)—who provided services during the statement period, their respective
                billing rates, the aggregate hours spent by each individual, a reasonably
                detailed breakdown of the disbursements incurred, and time entries for each



                                              3
20-11254-jlg    Doc 476    Filed 07/07/20 Entered 07/07/20 19:09:44             Main Document
                                       Pg 18 of 21



                individual in increments of tenths (1/10) of an hour or as close thereto as
                practicable unless otherwise ordered by the Court. No professional should seek
                reimbursement of an expense that would otherwise not be allowed pursuant to
                the Fee Guidelines.

          (e)   For those Retained Professionals who bill on a fixed or flat fee basis, each
                Monthly Fee Statement will contain such details as required by their respective
                retention orders.

          (f)   If any party in interest has an objection to the compensation or reimbursement
                sought in a particular Monthly Fee Statement (an “Objection”) such party shall,
                by no later than 12:00 p.m. (Prevailing Eastern Time) on the date that is fifteen
                days following the filing of the particular Monthly Fee Statement (the
                “Objection Deadline”), serve via electronic mail upon the Retained
                Professional whose Monthly Fee Statement is the subject of an Objection, a
                written “Notice of Objection to Fee Statement,” setting forth the nature of the
                Objection and the amount of fees or expenses at issue.

          (g)   At the expiration of the Objection Deadline, the Debtors shall promptly pay
                eighty percent (80%) of the fees and one hundred percent (100%) of the
                expenses identified in each Monthly Fee Statement to which no Objection has
                been served in accordance with paragraph (f) above.

          (h)   If a Notice of Objection to Fee Statement with respect to a particular Monthly
                Fee Statement is served, the Debtors shall withhold payment of that portion of
                the Monthly Fee Statement to which the Objection is directed and promptly
                pay the remainder of the fees and disbursements in the percentages set forth in
                paragraph (g).

          (i)   If an Objection is resolved and if the party whose Monthly Fee Statement was
                the subject of the Objection serves on all Fee Notice Parties a statement
                indicating that the Objection has been withdrawn and describing the terms of
                the resolution, then the Debtors shall promptly pay, in accordance with
                paragraph (g), that portion of the Monthly Fee Statement that is no longer
                subject to the Objection.

          (j)   All Objections that are not resolved by the parties shall be preserved and
                presented to the Court at the next interim or final fee application hearing to be
                heard by the Court.

          (k)   The service of a Notice of Objection to Fee Statement in accordance with
                paragraph (f) above shall not prejudice the objecting party’s right to object to
                any fee application made to the Court in accordance with the Bankruptcy Code
                on any ground, whether raised in the Objection or not. Furthermore, the
                decision by any party not to object to a Monthly Fee Statement shall not be a
                waiver of any kind and shall not prejudice that party’s right to object to any fee




                                               4
20-11254-jlg       Doc 476       Filed 07/07/20 Entered 07/07/20 19:09:44                    Main Document
                                             Pg 19 of 21



                    application subsequently made to the Court in accordance with the Bankruptcy
                    Code.

             B.     Interim Fee Applications

             (a)    Commencing with the period beginning with the Petition Date (May 26, 2020)
                    and ending September 30, 2020, and at four-month intervals thereafter (each
                    such period, an “Interim Fee Period”), each of the Retained Professionals shall
                    file with the Court and serve on the Fee Notice Parties an application (an
                    “Interim Fee Application”) for interim Court approval and allowance pursuant
                    to sections 330 and 331 of the Bankruptcy Code (as the case may be), of the
                    compensation and reimbursement of expenses requested in the Monthly Fee
                    Statements served during each applicable Interim Fee Period. Each Retained
                    Professional shall file its Interim Fee Application no later than forty-five days
                    after the end of an Interim Fee Period. Each Retained Professional shall file its
                    first Interim Fee Application on or before November 16, 2020 3 and the first
                    Interim Fee Application shall cover the Interim Fee Period from the Petition
                    Date (or the effective date of the Retained Professional’s retention) through and
                    including September 30, 2020.

             (b)    The Debtors’ attorneys shall obtain a date from the Court for the hearing to
                    consider Interim Fee Applications for all Retained Professionals (the “Interim
                    Fee Hearing”), which shall be scheduled no earlier than thirty days after the
                    expiration of the 45-day period set forth in paragraph (a), unless otherwise
                    agreed to by the Debtors, the U.S. Trustee, and the UCC. At least thirty days
                    prior to the Interim Fee Hearing, the Debtors’ attorneys shall file a notice with
                    the Court, with service upon the U.S. Trustee and all Retained Professionals,
                    setting forth the time, date, and location of the Interim Fee Hearing, the period
                    covered by the Interim Fee Applications, and the Objection Deadline. Any
                    Retained Professional unable to file its own Interim Fee Application with the
                    Court shall deliver to the Debtors’ attorneys a fully executed copy, along with
                    service copies, three business days before the filing deadline. The Debtors’
                    attorneys shall file and serve such Interim Fee Application.

             (c)    Any Retained Professional who fails to timely file an Interim Fee Application
                    seeking approval of compensation and expenses previously paid pursuant to a
                    Monthly Fee Statement shall (i) be ineligible to receive further monthly
                    payments of fees or reimbursement of expenses as provided under this Order
                    until such Interim Fee Application is filed, and (ii) may be required to disgorge
                    any fees paid since retention or the last fee application, whichever is later.

             (d)    The pendency of an Interim Fee Application or a Court order that payment of
                    compensation or reimbursement of expenses was improper as to a particular
                    Monthly Fee Statement shall not disqualify a Retained Professional from the
3
        Forty-five days after the end of the first Interim Fee Period (September 30, 2020) is November 14, 2020,
which lands on a Saturday. Thus, under Bankruptcy Rule 9006(a)(1)(c), the deadline would be the first non-holiday,
non-weekend day, which is Monday, November 16, 2020.


                                                        5
20-11254-jlg      Doc 476        Filed 07/07/20 Entered 07/07/20 19:09:44           Main Document
                                             Pg 20 of 21



                      future payment of compensation or reimbursement of expenses as set forth
                      above, unless otherwise ordered by the Court.

           (e)        Neither the payment of, nor the failure to pay, in whole or in part, monthly
                      compensation and reimbursement as provided herein shall have any effect on
                      the Court’s interim or final allowance of compensation and reimbursement of
                      expenses of any Retained Professionals. To the extent authorized by the Court,
                      including in an order allowing a Retained Professional’s Interim Fee
                      Application, the Debtors shall be authorized to promptly pay such Retained
                      Professional all allowed requested fees (including the 20% of the fees withheld
                      from each Monthly Fee Statement) and expenses not previously paid.

           (f)        Counsel for the UCC may, in accordance with the Interim Compensation
                      Procedures, collect and submit statements of expenses, with supporting
                      vouchers, from members of the UCC; provided, that such reimbursement
                      requests must comply with the Fee Guidelines, and any other applicable fee
                      and expense guidelines adopted by the Court. Notwithstanding the foregoing,
                      the Debtors are authorized to promptly pay upon the receipt of invoices
                      therefore the actual and necessary expenses, other than compensation and
                      reimbursement of expenses specified in paragraph four of section 503(b) of the
                      Bankruptcy Code, incurred by a natural person who is a member of such
                      committee in the performance of the duties of such committee. The payment
                      of such expenses as provided herein shall be subject to, and shall not have any
                      effect on, the Court’s interim and final allowance of reimbursement of such
                      expenses.

                 2.       The amount of compensation sought shall be set out in U.S. dollars. If the

compensation is to be paid in foreign currency, the amount shall be set out in U.S. dollars and the

conversion amount in the foreign currency, calculated at the time of the submission.

                 3.       The Debtors shall include all payments to Retained Professional on their

monthly operating reports, detailed so as to state the amount paid to each Retained Professional;

provided that amounts paid to ordinary course professionals may be stated in the aggregate on

any monthly operating report.

                 4.       Notice of hearings to consider Interim Fee Applications shall be limited to

the Fee Notice Parties and any party who files a Notice of Objection to Fee Statement or a notice

of appearance and requests notice in these Chapter 11 Cases.




                                                    6
20-11254-jlg     Doc 476     Filed 07/07/20 Entered 07/07/20 19:09:44             Main Document
                                         Pg 21 of 21



               5.      All time periods set forth in this Order shall be calculated in accordance

with bankruptcy Rule 9006(a).

               6.      The Debtors shall serve a copy of this Order on each of the Retained

Professionals, the Fee Notice Parties, and all persons and entities that have formally appeared

and requested service in these Chapter 11 Cases pursuant to Bankruptcy Rule 2002 and the

Order Implementing Certain Notice and Case Management Procedures (ECF No. 112).

               7.      Notice of the Motion as provided therein shall be deemed good and

sufficient notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local

Rules are satisfied by such notice.

               8.      Notwithstanding anything to the contrary, the terms and conditions of this

Order are immediately effective and enforceable upon its entry.

               9.      The Debtors are authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.

               10.     This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation, interpretation or

enforcement of this Order.



 Dated: _____________, 2020
        New York, New York

                                                     HONORABLE JAMES L. GARRITY JR.
                                                     UNITED STATES BANKRUPTCY JUDGE




                                                 7
